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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,                )
                                      )
        Plaintiffs,                   )
                                      )          CIVIL ACTION NO.
        v.                            )            2:14cv601-MHT
                                      )                 (WO)
JEFFERSON S. DUNN, in his             )
official capacity as                  )
Commissioner of                       )
the Alabama Department of             )
Corrections, et al.,                  )
                                      )
        Defendants.                   )

             PHASE 2A UNDERSTAFFING REMEDIAL ORDER

      In accordance with the opinion entered this day, it

is the ORDER, JUDGMENT, and DECREE of the court that

defendants     Commissioner          Jefferson     Dunn    and    Associate

Commissioner       of    Health       Services     Ruth        Naglich    are

ENJOINED     and   RESTRAINED        from   failing       to   comply    with

their    remedial       plan   (as    modified     by     later    filings,

including      a    timeline,         and    the     orders       and    the

accompanying opinion of the court) for understaffing in

the   Alabama      Department        of   Corrections      (ADOC).       The
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defendants      are   to   comply   with     ALL    deadlines     in   the

plan, including but not limited to the following:

    (1) With regard to correctional understaffing:

          (a) By April 1, 2018, Stephen Condrey is to

          submit      recommendations         to    ADOC     related     to

          compensation and benefits, which the defendants

          are to file with the court by April 2, 2018.

          (b) By May 1, 2018, Margaret and Merle Savage

          shall complete the staffing analyses for each

          of     ADOC’s     15    major      facilities,      with     the

          agreed-upon exception of the Tutwiler facility,

          and shall submit their final staffing analyses

          and recommendations to ADOC.               The Savages are

          to include recommendations for Tutwiler, based

          on the staffing analysis previously performed

          for     that     facility     by    The    Moss     Group.     In

          conducting the staffing analyses and preparing

          their recommendations, the Savages shall abide

          by the agreement entered between them and Vail

          on     December    5,     2017,     as    set     out   in   the


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        accompanying        opinion.        The     defendants           are   to

        file the Savages’ analyses and recommendations

        with the court by May 2, 2018.

        (c)    By    November        1,     2018,     the        firm     Warren

        Averett is to submit recommendations to ADOC

        related to recruitment and retention, which the

        defendants      are     to        file     with     the     court      by

        November 2, 2018.

        (d) By December 1, 2018, ADOC is to implement

        the recommendations of consultants Condrey and

        the firm Warren Averett, as modified by any

        agreements     between        the        parties    or     orders      of

        this court.

        (e) By February 20, 2022, the defendants shall

        have        fully       implemented                the          Savages’

        correctional          staffing            recommendations,             as

        modified by any agreements between the parties

        or orders of this court.

  (2) With regard to mental-health understaffing:




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        (a) By April 1, 2018, ADOC’s new mental-health

        vendor      shall    begin          providing    mental-health

        services.

        (b) By May 1, 2018, ADOC’s new mental-health

        vendor,     shall,    in       addition   to     continuing        to

        fill those positions in place at the time of

        this     order,     fill       at     least     65     %    of    the

        additional        mental-health         staffing           positions

        provided for in the contract.

        (c) By June 1, 2018, ADOC’s new mental-health

        vendor,     shall,    in       addition   to     continuing        to

        fill those positions in place at the time of

        this     order,     fill       at     least     75     %    of    the

        additional        mental-health         staffing           positions

        provided for in the contract.

        (d) By July 1, 2018, ADOC’s new mental-health

        vendor, shall fill the mental-health staffing

        positions consistent with the contract.

        (e)    By     September          1,    2018,         the     State’s

        mental-health         consultants--Catherine                     Knox,


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        Jeffrey     L.   Metzner,      and    Mary    Perrien--shall

        begin their analysis to develop mental-health

        staffing ratios.

        (f) By March 1, 2019, Catherine Knox, Jeffrey

        L.    Metzner,     and   Mary    Perrien      shall     submit

        finalized mental-health staffing ratios to the

        defendants.        The defendants are to file the

        ratios with the court by March 4, 2019.

        (g) By August 15, 2019, ADOC shall modify its

        contract with the mental-health vendor in order

        to    provide     the    positions      required      by     the

        mental-health staffing ratios, as modified by

        any agreements between the parties or orders of

        this court.

        (h) By November 15, 2019, ADOC’s mental-health

        vendor shall begin to implement the finalized

        staffing ratios.

        (j)    By    January     15,    2020,     Catherine        Knox,

        Jeffrey     L.   Metzner,      and    Mary    Perrien      shall

        review      implementation       of     the    mental-health


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          staffing ratios and make recommendations, if

          necessary, for revising those staffing ratios.

          By January 16, 2020, the defendants shall file

          any such recommendations with the court.

          (k) By February 15, 2020, ADOC’s mental-health

          vendor     shall     have    filled     the    mental-health

          staffing       positions          consistent        with    the

          contract.

    (3) With regard to the staffing of the ADOC Office

of Health Services (OHS):

          (a) By August 30, 2018, the defendants are to

          fill     the   position      of     Clinical    Director       of

          Psychiatry.

          (b) The defendants are to notify the court when

          they receive a decision from State Personnel

          regarding approval for the position of Director

          of Mental Health Services.             By six months from

          the     date     that       State     Personnel       provides

          approval,      the    defendants       are     to    fill   the

          position of Director of Mental Health Services.


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             (c) The defendants are to notify the court when

             they receive a decision from State Personnel

             regarding approval for the position of Southern

             Regional Psychologist.             By six months from the

             date that State Personnel provides approval,

             the   defendants      are     to   fill    the   position   of

             Southern Regional Psychologist.

             (d) By March 30, 2018, the defendants are to

             fill the OHS position of Ombudsman.

       (4) The defendants shall submit to the court under

seal    a    “Correctional         Staffing      Report”      and   “Mental

Health Staffing Report” on a quarterly basis, that is,

March 1, June 1, September 1, and December 1 of each

year, with the report due on the next business day if

the    due   date    falls   on    a     weekend   or    holiday.     Each

quarterly report will provide:

             (a)    the   number    of     correctional/mental-health

             staff assigned to each ADOC facility;




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        (b)   the    number     of   correctional/mental-health

        staff employed by each facility at the end of

        the quarter;

        (c) the turnover rate, that is, the number of

        voluntary and involuntary terminations during

        the   quarter     divided      by    the   total    number     of

        correctional/mental-health staff at the end of

        the quarter, with each of the figures in the

        calculation to be provided in addition to the

        ultimate result);

        (d)   the    retention       rate,    that    is,   the    total

        number of correctional/mental-health staff at

        an ADOC facility who have worked for ADOC for

        twelve months or longer divided by the total

        number of correctional/mental-health staff at

        the   end    of   the    quarter,      with     each     of   the

        figures in the calculation to be provided in

        addition to the ultimate result;

        (e)    the    vacancy        rate     (number       of    vacant

        positions at the end of the quarter divided by


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           the total number of correctional/mental-health

           staff and vacant positions at the end of the

           quarter); and

           (f)     the    implementation         status       of     the

           recommendations        of     each     of     their      four

           consultant groups: the Savages, Condrey, the

           firm Warren Averett, and Knox, et al.

    (5) The court recognizes that a party may not be

able to meet a deadline for reasons outside the party’s

control or for other good cause.                In such instances,

the party should file a motion to extend the deadline.

A motion for extension of a deadline (i) must be in

writing;    (ii)   must    indicate     that    movant    has,     in    a

timely   manner,    previously      contacted      counsel    for    all

other parties; and, (iii) based on that contact, must

state whether counsel for all other parties agree to or

oppose the extension motion.            Absent stated unforeseen

and unavoidable circumstances beyond the control of the

movant, oral and “eleventh hour” extension requests and




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motions are not allowed.

    DONE, this the 20th day of February, 2018.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
